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									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
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				Go to Today june, 2017
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										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
									
				19jun10:00 am- 4:00 pmOral Arguments
							Event DetailsMonday, June 19, 2017
10:00 AM
S17G0091 Columbus Board of Tax Assessors et al. v. Medical Center Hospital Authority
S17G0141 Lemcon USA Corporation v. Icon Technology Consulting, Inc.
S17A1305 Meadows v. Beam, Caveator [...]
							
							
									Event Details
									Monday, June 19, 2017
10:00 AM
S17G0091 Columbus Board of Tax Assessors et al. v. Medical Center Hospital Authority
S17G0141 Lemcon USA Corporation v. Icon Technology Consulting, Inc.
S17A1305 Meadows v. Beam, Caveator et al.
2:00 PM
S17G0038 Ocmulgee EMC et al. v. McDuffie
S17A0949 Davis v. The State


								
							
						
						
							
							
								
									
																
										Time(Monday) 10:00 am - 4:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
									
			
			
						

							Recent News &amp; Reports		
					
				6/15/17 – JUDGE CANNON TO HEAR GEORGIA SUPREME COURT CASE
						
					
				6/15/17 – JUDGE ADAMS TO HEAR GEORGIA SUPREME COURT CASE
						
				
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